                        Case 23-16427              Doc 46         Filed 04/30/24 Entered 04/30/24 16:15:59                                Desc Main
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 Fill in this information to identify your case:

  Debtor 1                  Robert                                     Divilbiss
                            First Name             Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name         Last Name                                             Check if this is:
                                                                                                                             ✔ An amended filing
                                                                                                                             ❑
                                                                 Northern District of Illinois
                                                                                                                             ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                       23-16427                                                                                    chapter 13 income as of the following date:
  (if known)

                                                                                                                                MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status              ✔ Employed ❑ Not Employed
                                                                            ❑                                                 ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation                     General Manager
     employers.
                                             Employer's name                Cofreight LLC
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address             775 Veterans Parkway
     Occupation may include student                                          Number Street                                     Number Street
     or homemaker, if it applies.




                                                                            Bolingbrook, IL 60490
                                                                             City                     State   Zip Code         City                State     Zip Code
                                             How long employed there? 1 year 6 months


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1   For Debtor 2 or
                                                                                                                         non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.           $10,750.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                  3.   +           $83.33     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.           $10,833.33                     $0.00




Official Form 106I                                                           Schedule I: Your Income                                                              page 1
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 Debtor 1                 Robert                                                       Divilbiss                                     Case number (if known) 23-16427
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.          $10,833.33                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.          $1,412.37                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.          $1,001.59                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.           $2,413.96                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.           $8,419.38                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.               $0.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $8,419.38     +               $0.00         =         $8,419.38

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $8,419.38
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Fill in this information to identify your case:

  Debtor 1                  Robert                                       Divilbiss
                                                                                                                 Check if this is:
                            First Name              Middle Name         Last Name
                                                                                                                 ✔ An amended filing
                                                                                                                 ❑
  Debtor 2
  (Spouse, if filing)       First Name              Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Northern District of Illinois
                                                                                                                      MM / DD / YYYY
  Case number                       23-16427
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               17                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               3                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               3                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                   $311.67

     If not included in line 4:
                                                                                                                                4a.                  $500.00
     4a. Real estate taxes
                                                                                                                                4b.
     4b. Property, homeowner's, or renter's insurance                                                                                                  $58.33
                                                                                                                                4c.
     4c. Home maintenance, repair, and upkeep expenses                                                                                               $500.00
                                                                                                                                4d.
     4d. Homeowner's association or condominium dues                                                                                                       $0.00



Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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                      First Name            Middle Name            Last Name


                                                                                                                            Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                         6a.                   $470.00
       6b. Water, sewer, garbage collection                                                                       6b.                   $210.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                   $300.00
       6d. Other. Specify:                                                                                        6d.                       $0.00

 7.    Food and housekeeping supplies                                                                             7.                  $1,000.00

 8.    Childcare and children’s education costs                                                                   8.                    $450.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                    $120.00

 10. Personal care products and services                                                                          10.                   $106.00

 11.   Medical and dental expenses                                                                                11.                   $800.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                   $680.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                   $150.00

 14. Charitable contributions and religious donations                                                             14.                   $100.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                        15a.                  $135.00

       15b. Health insurance                                                                                      15b.                      $0.00
       15c. Vehicle insurance                                                                                     15c.                  $190.00

       15d. Other insurance. Specify:                     Gerber                                                  15d.                    $25.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                       $0.00

 17. Installment or lease payments:
                                                                                                                  17a.                      $0.00
       17a. Car payments for Vehicle 1
                                                                                                                  17b.                      $0.00
       17b. Car payments for Vehicle 2
                                                                                                                  17c.
                                                                                                                                            $0.00
       17c. Other. Specify:
                                                                                                                  17d.
                                                                                                                                            $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                   19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                           20a.                      $0.00
       20b. Real estate taxes                                                                                     20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                          20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                              20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.
                                                                                                                                            $0.00
Official Form 106J                                                          Schedule J: Your Expenses                                               page 2
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 Debtor 1            Robert                                    Divilbiss                                    Case number (if known) 23-16427
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                             21.     +                $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                               22a.                 $6,106.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                     $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.                 $6,106.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                          23a.                $8,419.38

      23b. Copy your monthly expenses from line 22c above.                                                       23b.    –            $6,106.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                               23c.                 $2,313.38



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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                      First Name        Middle Name     Last Name




                                                                                                                              Amount


   6a. Electricity, heat, natural gas
       electricity                                                                                                            $250.00
       gas                                                                                                                    $220.00

   11. Medical and dental expenses
       deductible                                                                                                             $500.00
       dental work                                                                                                            $300.00




Official Form 106J                                              Schedule J: Your Expenses                                         page 4
